Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 1 of 49 PageID: 1237



                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

     DANIEL D’AMBLY, AARON WOLKIND;             Civil Action No.
     STEVE HARTLEY; RICHARD SCHWETZ;
     JOBEL BARBOSA; MATTHEW                      2:20-cv-12880-JMV-JSA
     REIDINGER; JOHN HUGO; SEAN-
     MICHAEL DAVID SCOTT; THOMAS
     LOUDEN; ZACHARY REHL; AMANDA               Honorable John Michael Vazquez
     REHL; K.R., a minor, by and through her    United States District Judge
     father ZACHARY REHL and her mother
     AMANDA REHL; MARK ANTHONY                  Oral Argument Requested
     TUCCI,
                             Plaintiffs,        Motion Date: July 6, 2021
           vs.

     CHRISTIAN EXOO a/k/a ANTIFASH
     GORDON; ST. LAWRENCE
     UNIVERSITY; TRIBUNE PUBLISHING
     COMPANY, LLC; NEW YORK DAILY
     NEWS; VIJAYA GADDE; TWITTER, INC;
     COHEN, WEISS AND SIMON, LLP,
     UNNAMED ASSOCIATES 1 – 100,
                        Defendants.

            DEFENDANTS TWITTER, INC. AND VIJAYA GADDE’S
            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
             WITH PREJUDICE COUNTS VIII-XII OF PLAINTIFFS’
             FIRST AMENDED COMPLAINT AND CROSS-CLAIMS
         FILED BY CO-DEFENDANT COHEN, WEISS AND SIMON, LLP

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                                              and Vijaya Gadde
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 2 of 49 PageID: 1238



                                           TABLE OF CONTENTS

                                                                                                               Page(s)
     INTRODUCTION ............................................................................................. 1

     BACKGROUND ............................................................................................... 3

     LEGAL STANDARD ...................................................................................... 10
     ARGUMENT .................................................................................................. 10

     I.      Section 230 Immunizes Twitter And Ms. Gadde From Plaintiffs’
             Claims.................................................................................................... 11

     II.     All Of Plaintiffs’ Claims Against Twitter And Ms. Gadde Should
             Be Dismissed For Failure To Plead Essential Elements Of Each
             Claim. .................................................................................................... 19

             A.       The FAC Fails To State A Claim For Negligent Entrustment
                      Against Either Twitter Or Ms. Gadde [Count XI]. ....................... 19

             B.       Plaintiffs Fail To State A Claim Against Either Twitter Or
                      Ms. Gadde For Racketeering, Under Either New Jersey Or
                      Federal Law [Counts VIII-X]....................................................... 25

                      1.        The FAC fails to plausibly allege Twitter or Ms.
                                Gadde were part of any racketeering “agreement” or
                                “enterprise.” ....................................................................... 26

                      2.        The FAC fails to plausibly allege that Twitter or Ms.
                                Gadde engaged in the requisite racketeering
                                “conduct.” .......................................................................... 29

                      3.        The FAC fails to plausibly allege that Plaintiffs were
                                injured “by reason of” any alleged predicate acts. .............. 31

                      4.        The FAC fails to plausibly allege the requisite
                                predicate acts. .................................................................... 32

             C.       Plaintiffs Fail To State A Claim Against Twitter Or Ms.
                      Gadde For Breach Of An Implied Covenant Of Good Faith
                      [Count XII] .................................................................................. 35

     III.    The Cross-Claims Previously Filed By Cohen, Weiss and Simon,
             LLP Should Also Be Dismissed. ............................................................ 38
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 3 of 49 PageID: 1239



     CONCLUSION ............................................................................................... 40




                                                         -ii-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 4 of 49 PageID: 1240



                                      TABLE OF AUTHORITIES

                                                                                                     Page(s)
                                                     CASES
     Argent Holdings, LLC v. East El Paso Physicians Medical Ctr.
          LLC, 2018 WL 548676 (W.D. Tex. Jan. 23, 2018)................................. 38
     Ashcroft v. Iqbal,
          556 U.S. 662 (2009)......................................................................... 10, 39

     Backpage.com, LLC v. Hoffman,
          2013 WL 4502097 (D.N.J. Aug. 20, 2013) ............................................ 13

     Baldino’s Lock & Key Serv., Inc. v. Google, Inc.,
           88 F. Supp. 3d 543 (E.D. Va. 2015) ....................................................... 17

     Barnes v. Yahoo!, Inc.,
          570 F.3d 1096 (9th Cir. 2009) .................................................... 13, 17, 18

     Batzel v. Smith,
           333 F.3d 1018 (9th Cir. 2003) ................................................................ 13

     Bell Atl. Corp. v. Twombly,
           550 U.S. 544 (2007)............................................................................... 10

     Ben Ezra, Weinstein & Co., Inc. v. Am. Online, Inc.,
          206 F.3d 980 (10th Cir. 2000) ................................................................ 13

     Brunswick Hills Racquet Club, Inc. v. Route 18 Shopping Ctr.
          Assocs., 864 A.2d 387 (N.J. 2005) ......................................................... 36

     Camden Cnty. Bd. Of Chosen Freeholders v. Beretta U.S.A. Corp.,
         123 F. Supp. 2d 245 (D.N.J. 2000)......................................................... 21

     Camden Cnty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp.,
         273 F. 3d 536 (3d Cir. 2001) .................................................................. 24
     City of Philadelphia v. Beretta U.S.A., Corp., 126 F. Supp. 2d 882
            (E.D. Pa. 2000) ............................................................... 19, 20, 21, 22, 24

     Crosby v. Twitter, Inc.,
          303 F. Supp. 3d 564 (E.D. Mich. 2018) ................................................. 20

     Crosby v. Twitter, Inc.,
          921 F.3d 617 (6th Cir. 2019) .................................................................. 14




                                                        -iii-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 5 of 49 PageID: 1241



     Davis v. Motiva Enterprises, L.L.C.,
           2015 WL 1535694 (Tex. Ct. App. Apr. 2, 2015).................................... 18

     Doe v. GTE Corp.,
           347 F.3d 655 (7th Cir. 2003) .................................................................. 20

     Doe v. MySpace, Inc.,
           528 F.3d 413 (5th Cir. 2008) ............................................................ 18, 19

     Doe v. Oesterblad,
           2015 WL 12940181 (D. Ariz. June 9, 2015) .......................................... 18

     Doug Grant, Inc. v. Greate Bay Casino Corp.,
          232 F.3d 173 (3d Cir. 2000) ................................................................... 32

     Fair Hous. Council of San Fernando Valley v. Roommates.com,
           521 F.3d 1157 (9th Cir. 2008) .......................................................... 11, 14

     Fields v. Twitter, Inc., 200 F. Supp. 3d 964 (N.D. Cal. 2016) .................... 14, 17

     Fireman’s Fund Ins. Co. v. 360 Steel Erectors, Inc.,
          2018 WL 1069417 (D.N.J. Feb. 26, 2018) ............................................. 39

     Force v. Facebook, Inc.,
           304 F. Supp. 3d 315 (E.D.N.Y. 2018) .................................................... 17

     Force v. Facebook, Inc.,
           934 F.3d 53 (2d Cir. 2019) ..................................................................... 12

     Gagliardi v. Kratzenberg,
           188 F. App’x 86 (3d Cir. 2006) ................................................................ 5

     Godwin v. Facebook, Inc.,
          160 N.E. 3d 372 (Ohio Ct. App. 2020)................................................... 24

     Gonzalez v. Google, Inc.,
          335 F. Supp. 3d 1156 (N.D. Cal. 2018) .................................................. 17
     Green v. America Online (AOL),
          318 F.3d 465 (3d Cir. 2003) .............................................. 3, 11, 12, 16, 37

     Hemi Grp., LLC v. City of New York, N.Y.,
          559 U.S. 1 (2010).............................................................................. 31-32

     Herrick v. Grindr, LLC,
           306 F. Supp. 3d 579 (S.D.N.Y. 2018) .................................................... 24




                                                       -iv-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 6 of 49 PageID: 1242



     Hinton v. Amazom.com.dedc, LLC,
           72 F. Supp. 3d 685 (S.D. Miss. 2014) .................................................... 18

     Holmes v. Secs. Investor Protection Corp.,
          503 U.S. 258 (1992)............................................................................... 31

     Hunsberger v. The Original Fudge Kitchen,
          2020 WL 6620156 (D.N.J. Nov. 12, 2020) ....................................... 39-40

     Icon Health & Fitness, Inc. v. Consumer Affairs.com,
           2017 WL 2728413 (D. Utah June 23, 2017)...................................... 17-18

     Igbonwa v. Facebook, Inc.,
          2018 WL 4907632 (N.D. Cal. Oct. 9, 2018) .......................................... 15

     In re Insurance Brokerage Antitrust Litig.,
            618 F.3d 300 (3d Cir. 2010) ............................................ 27, 28, 29, 30, 31

     Inventel Prods., LLC v. Li,
           2019 WL 5078807 (D.N.J. Oct. 10, 2019) ............................................. 14

     Jian Zhang v. Baidu.com, Inc.,
           10 F. Supp. 3d 433 (S.D.N.Y. 2014) ...................................................... 25

     Jones v. Twitter, Inc.,
           2020 WL 6263412 (D. Md. Oct. 23, 2020) ....................................... 14-15

     Katz v. Holzberg,
           2013 WL 5946502 (D.N.J. Nov. 4, 2013) .............................................. 40

     Kimzey v. Yelp! Inc.,
          836 F.3d 1263 (9th Cir. 2016) ................................................................ 17

     Klayman v. Zuckerberg,
          753 F.3d 1354 (D.C. Cir. 2014) ............................................................. 15

     La ‘Tiejira v. Facebook, Inc.,
           272 F. Supp. 3d 981 (S.D. Tex. 2017) .................................................... 25

     Langdon v. Google, Inc.,
          474 F. Supp. 2d 622 (D. Del. 2007) ....................................................... 25

     Leeder v. Feinstein,
          2019 WL 2710794 (D.N.J. June 28, 2019) ............................................. 28

     Lentini v. McDonald’s USA, Inc.,
           2019 WL 4746420 (D.N.J. Sept. 30, 2019) ...................................... 27, 28



                                                        -v-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 7 of 49 PageID: 1243



     Manchanda v. Google,
          2016 WL 6806250 (S.D.N.Y. Nov. 16, 2016) ........................................ 18

     McCullough v. Zimmer, Inc.,
         382 F. App’x 225 (3d Cir. 2010) ...................................................... 27, 29

     Miami Herald Publ’g Co. v. Tornillo,
          418 U.S. 241 (1974)............................................................................... 25

     Nat’l Org. for Women, Inc. v. Scheidler,
           510 U.S. 249 (1994)............................................................................... 25

     Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc.,
          591 F.3d 250 (4th Cir. 2009) ............................................................. 15-16

     New Jersey Citizens United v. Hernandez,
          2006 WL 686571 (D.N.J. Mar. 20, 2006) .............................................. 20

     Obado v. Magedson,
          2014 WL 3778261 (D.N.J. July 31, 2014)....................... 12, 17, 19, 38-39

     Obado v. Magedson,
          612 F. App’x 90 (3d Cir. 2015) ............................................ 10, 16, 18, 35

     Parker v. Google, Inc.,
          242 F. App’x 833 (3d Cir. 2007) ............................................................ 14

     Pension Ben. Guar. Corp. v. White Consol. Indus., Inc.,
           998 F.2d 1192 (3d Cir. 1993) ................................................................. 37

     Pro. Cleaning & Innovative Bldg. Servs., Inc. v. Kennedy Funding,
           Inc., 2009 WL 1651131 (D.N.J. June 12, 2009) ..................................... 32

     Regions Bank v. Kaplan,
          2013 WL 1193831 (M.D. Fla. Mar. 22, 2013) ....................................... 39

     Reves v. Ernst & Young,
           507 U.S. 170 (1993)......................................................................... 25, 31

     Roman Restoration, Inc. v. Operative Plasterers & Cement
         Masons’ Int’l Assoc. of the U.S. & Canada # 8,
         2008 WL 2684350 (D.N.J. June 30, 2008) ....................................... 33, 34

     Rose v. Bartle,
           871 F.2d 331 (3d Cir. 1989) ................................................................... 27




                                                        -vi-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 8 of 49 PageID: 1244



     Ross v. Celtron Int’l, Inc.,
           494 F. Supp. 2d 288 (D.N.J. 2007)......................................................... 35

     Saponaro v. Grindr, LLC,
          93 F. Supp. 3d 319 (D.N.J. 2015)..................................................... 13, 24

     Scheidler v. Nat’l Org. for Women, Inc.,
           537 U.S. 393 (2003)......................................................................... 33, 34

     Sedima, S.P.R.L v. Imrex Co., Inc.,
          473 U.S. 479 (1985)......................................................................... 26, 27

     Sharp v. Kean University,
           153 F. Supp. 3d 669 (D.N.J. 2015)......................................................... 27

     Smith v. Berg,
           247 F.3d 532 (3d Cir. 2001) ................................................................... 26

     St. Clair v. Citizens Financial Grp.,
            340 F. App’x 62 (3d Cir. 2009) ........................................................ 32, 33

     State v. Ball,
            632 A.2d 1222 (N.J. Super. Ct. App. Div. 1993).................................... 30

     Tedeschi v. Smith,
           2010 WL 148424 (D.N.J. Jan. 12, 2010) .......................................... 29, 30

     United States v. Nordean, Case No. 21-cr-175 (TJK), ECF No. 26
           (D.D.C. Mar. 10, 2021) ........................................................................ 4, 5

     United States v. Turkette,
           452 U.S. 576 (1981)............................................................................... 28

     United Support Solutions v. LaPierre,
           2014 WL 3058561 (D.N.J. July 7, 2014) ............................................... 26

     Univ. of Maryland at Baltimore v. Peat, Marwick, Main & Co.,
           996 F.2d 1534 (3d Cir. 1993) ................................................................. 29

     Williams v. Danberg,
           2011 WL 65727 (D. Del. Jan. 14, 2011) .................................................. 5

     Zeran v. America Online, Inc.,
           129 F.3d 327 (4th Cir. 1997) ................................................ 12, 13, 18, 19




                                                       -vii-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 9 of 49 PageID: 1245



                           STATUTES, RULES, AND REGULATIONS
     18 U.S.C. § 1951.............................................................................................. 33

     18 U.S.C. § 1952.............................................................................................. 33

     18 U.S.C. § 1961(1) ................................................................................... 32, 33

     18 U.S.C. § 1964(c) ......................................................................................... 31
     47 U.S.C. § 230 ........................................................................................ passim

     47 U.S.C. § 230(b)(2) ...................................................................................... 12

     47 U.S.C. § 230(c)(1)....................................................................................... 11

     47 U.S.C. § 230(f)(2) ....................................................................................... 14

     N.J.S.A. 2C:41 .......................................................................................... passim

     Federal Rule of Civil Procedure 12(b)(6) .................................................. 10, 39

                                          OTHER AUTHORITIES
     Restatement (Second) of Torts § 318 ............................................................... 20




                                                          -viii-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 10 of 49 PageID: 1246



                                      INTRODUCTION
            Plaintiffs’ claims against Twitter, Inc. and its executive Vijaya Gadde

      appear to be based on their disagreement with how Twitter moderated third-party

      content on its online platform and their supposition that Twitter had a legal duty

      to prevent third parties from posting messages on its platform highlighting

      Plaintiffs’ public affiliations with extremist groups. But Plaintiffs cannot impose

      liability on Twitter or its executives for the collateral effects of their own

      affiliations. Plaintiffs do not, and cannot, allege that Twitter or Ms. Gadde

      created any of the posts at issue or that Twitter or Ms. Gadde were in any way

      connected to the subsequent conduct that actually caused their alleged injuries.

      As a result, all of Plaintiffs’ claims against Twitter and Ms. Gadde fail as a matter

      of law and must be dismissed.

            Plaintiffs allege that they were injured after Defendant Christian Exoo

      created and disseminated messages (“Tweets”) on the Twitter online platform

      identifying them (or, in the case of two of the Plaintiffs, their family member) as

      members of far-right political organizations.       According to Plaintiffs, these

      Tweets set off a chain of events that ultimately resulted in termination of their

      employment or their suffering other harms. First Amended Complaint (“FAC”)

      ¶¶ 38-141, ECF No. 66. Lead Plaintiff Daniel D’Ambly, for example, alleges

      that Exoo published Tweets linking D’Ambly to the European Heritage

      Association (“EHA”)—an alleged white supremacist organization to which

      D’Ambly belongs that organized an “It’s okay to be white” march in January
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 11 of 49 PageID: 1247



      2019. Id. ¶ 47. According to the FAC, Exoo encouraged his followers to harass

      D’Ambly and his employer, the New York Daily News, triggering a series of

      other incidents that led to D’Ambly’s employment being terminated and to his

      car being vandalized. Id. ¶¶ 39, 42. The other Plaintiffs likewise allege that

      Exoo’s Tweets caused them to lose jobs and/or face harassment or property

      damage. Id. ¶¶ 75-141.

            The FAC identifies Exoo as the person who authored and disseminated the

      Tweets that allegedly triggered the events that led to Plaintiffs’ alleged injuries.

      Nonetheless, Plaintiffs chose to sue not just Exoo, but also Twitter and Twitter

      executive Vijaya Gadde, among others. Plaintiffs do not allege that either Twitter

      or Ms. Gadde harassed them or their employers, or that Twitter or Ms. Gadde

      created or disseminated any of the messages that allegedly led to this harassment.

      Nor do Plaintiffs allege that they had any pre-existing relationship with Twitter,

      ever held a Twitter account, or at any time used the Twitter online platform.

            Plaintiffs nevertheless seek to impose liability on Twitter and Gadde on the

      theory that they bear responsibility for Plaintiffs’ alleged injuries due to their

      purported failure to ban Exoo from the Twitter platform and to remove Exoo’s

      allegedly injurious Tweets, in supposed violation of certain rules that are

      incorporated into the User Agreement between Twitter and its accountholders.

      FAC ¶¶ 21-22, 113-114.

            The Court should dismiss all of the Plaintiffs’ claims against Twitter and

      Ms. Gadde. To begin, a federal statute, 47 U.S.C. § 230 (“Section 230”),



                                              -2-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 12 of 49 PageID: 1248



      immunizes Twitter and Ms. Gadde from liability on all claims. Section 230

      shields interactive computer service providers, such as Twitter and Ms. Gadde,

      from precisely the type of suit that Plaintiffs bring here: an action premised on

      allegations that Twitter failed to block or remove allegedly offensive or unlawful

      online content that was created and posted by someone else. See Green v.

      America Online (AOL), 318 F.3d 465, 471 (3d Cir. 2003). Aside from Section

      230, each of the Plaintiffs’ five putative claims against Twitter and Ms. Gadde

      should be dismissed because the FAC fails to plausibly allege essential elements

      of each claim. The Court should also dismiss Co-Defendant Cohen, Weiss, and

      Simon, LLP’s (“CWS”) conclusory and baseless cross-claims against Twitter and

      Ms. Gadde, to the extent they were not mooted when D’Ambly amended his

      original complaint.

            Plaintiffs filed the operative FAC after Twitter and Ms. Gadde had moved

      to dismiss Plaintiff D’Ambly’s original complaint. See ECF No. 33. Plaintiffs

      have therefore already had the opportunity to cure the defects that Twitter and

      Ms. Gadde identified in that prior motion. Their failure to do so shows that any

      further amendment would be futile. Accordingly, dismissal of all claims against

      Twitter and Ms. Gadde should be with prejudice.

                                      BACKGROUND
            Twitter operates an Internet communications platform that allows hundreds

      of millions of people around the world to share views and track current events by

      reading and posting Tweets—short messages limited to 280 characters. Every



                                             -3-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 13 of 49 PageID: 1249



      day, people use this platform to send and receive hundreds of millions of Tweets.

      Defendant Vijaya Gadde is Twitter’s Legal, Public Policy, and Trust and Safety

      Lead. FAC ¶ 20. Twitter generally offers its services to members of the public

      without any charge, but it requires all accountholders to agree to abide by

      Twitter’s User Agreement, which comprises the Twitter Terms of Service

      (“TOS”), Twitter Rules, and Twitter Privacy Policy. 1

            According to the FAC,2 Plaintiff D’Ambly identifies himself as a member

      of the European Heritage Association, a group that the FAC characterizes as a

      “non-violent, pro-domestic policy organization” that has been “labeled” a “white

      supremacist hate group.” FAC ¶ 1.

            Seven other Plaintiffs (Aaron Wolkind, Steve Hartley, Richard Schwetz,

      Zachary Rehl, Jobel Barbosa, Anthony Tucci, and Matthew Reidinger) are

      members of the “Proud Boys,” which the FAC characterizes as a “diverse, multi-

      racial, multi-ethnic, fraternal, males-only drinking club.” FAC ¶ 14. A recently

      unsealed indictment charges four Proud Boys leaders, including Plaintiff Zachary

      Rehl, with federal crimes based on their alleged role in the January 6, 2021 attack

      on the U.S. Capitol. See First Superseding Indictment, United States v. Nordean,


      1
             See Twitter User Agreement, https://cdn.cms-twdigitalassets.com/content/
      dam/legal-twitter/site-assets/privacy-policy-new/Privacy-Policy-Terms-of-
      Service_EN.pdf (last visited Nov. 18, 2020). Paragraph 29 of the FAC refers to
      (and incorporates by reference) Twitter’s “Terms of Service and Rules.”
      2
            Defendants treat Plaintiffs’ non-conclusory allegations as true solely for
      purposes of this motion, as required by law. See infra p. 10 (discussing legal
      standard).



                                              -4-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 14 of 49 PageID: 1250



      Case No. 21-cr-175 (TJK), ECF No. 26 (D.D.C. Mar. 10, 2021).3 Two other

      Plaintiffs (Amanda Rehl and K.R.) are the spouse and minor child of Plaintiff

      Zachary Rehl. FAC ¶¶ 3-4.

            Plaintiff John Hugo is alleged to be the President of “Super Happy Fun

      America,” a group which the FAC alleges to be a “right of center civil rights

      organization focusing on defending the American Constitution, opposing gender

      madness, and defeating cultural Marxism.” FAC ¶ 15. The FAC says nothing

      about the group affiliations of the two remaining Plaintiffs (Sean-Michael David

      Scott and Thomas Louden).

            The FAC describes a variety of public events through which certain

      Plaintiffs associated themselves with these organizations. The FAC alleges that

      EHA members, including D’Ambly, participate in rallies, protests, and

      pamphleteering. FAC ¶ 1. It alleges that Plaintiff Hugo is the “President” of the

      group that organized the “2019 Boston Straight Pride Parade.” FAC ¶ 15. It

      alleges that Plaintiff Richard Schwetz was photographed participating in a public

      event organized by the Proud Boys. FAC ¶ 113. And it alleges that Plaintiff

      Zachary Rehl, another Proud Boy, organized two public marches. FAC ¶¶ 76-

      79.


      3
             This Court may take judicial notice of the fact that several leaders of the
      Proud Boys have been indicted for their alleged participation in the January 6,
      2021 attack on the U.S. Capitol. See Gagliardi v. Kratzenberg, 188 F. App’x 86,
      88 n.3 (3d Cir. 2006) (“We may take judicial notice of public records.”); Williams
      v. Danberg, 2011 WL 65727, at *1 (D. Del. Jan. 14, 2011) (taking judicial notice
      of bills of indictment).



                                             -5-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 15 of 49 PageID: 1251



            Notwithstanding these various public activities, Plaintiffs blame Exoo’s

      Tweets for publicly disclosing their association with each organization. E.g.,

      FAC ¶ 44 (Exoo’s Tweets “publicly disclosed for the first time” D’Ambly’s

      association with EHA). The FAC characterizes Exoo’s Tweets as “doxxing”—

      i.e., publicly disclosing otherwise private information about a person for the

      purposes of causing him harm. See id. p. 2. According to the FAC, Exoo’s

      “doxxing” of Plaintiffs triggered a chain of reactions by other individuals and

      organizations that culminated in Plaintiffs being terminated from their jobs,

      suffering property damage, and/or enduring emotional distress. See id. ¶ 37.4

            For example, the FAC alleges that Exoo initially “doxed” D’Ambly on

      October 29, 2018, when Exoo posted a series (known as a “thread”) of Tweets

      that allegedly identified D’Ambly as a “‘Nazi,’” disclosed certain personal

      information about him, and directed other individuals to contact D’Ambly’s

      employer, the New York Daily News, to press for D’Ambly’s termination. FAC

      ¶¶ 44-45. After the New York Daily News allegedly received multiple such calls,

      the newspaper hired an investigator who “confirmed D’Ambly’s association with

      EHA” and provided videos of D’Ambly “using imprudent language” at EHA

      political rallies. Id. ¶ 46. Exoo allegedly published five additional Tweets about

      D’Ambly in January 2019, many of which related to EHA’s upcoming “‘It’s okay


      4
           Plaintiffs Amanda Rehl and K.R. do not claim to have been doxed
      themselves, but they trace their alleged injuries to the fact that their family
      member—Plaintiff Zachary Rehl—was allegedly doxed by Exoo.                  See
      FAC ¶¶ 83-94.


                                             -6-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 16 of 49 PageID: 1252



      to be white’” march in Princeton, New Jersey. Id. ¶¶ 48-49, 51, 58, 61. In one

      Tweet, Exoo allegedly threatened D’Ambly. Id. ¶ 58. These Tweets allegedly

      prompted additional unidentified individuals to call the New York Daily News

      and deliver “death threats” to the newspaper. Id. ¶ 52. The FAC alleges on

      “reason and belief” that one of these callers later Tweeted “mission confirmation”

      to Exoo. Id. ¶ 54. According to D’Ambly, these events caused the Daily News

      to terminate his employment. Id. ¶¶ 62-65. D’Ambly further alleges that on the

      evening of January 11, 2019, unknown individuals scratched his vehicle and

      slashed its tires. Id. ¶ 59.

             The FAC contains similar allegations about each of the other Plaintiffs.

      Each Plaintiff alleges that Christian Exoo created and posted Tweets that “doxed”

      them (or, in the case of two Plaintiffs, their relative). FAC ¶¶ 76, 79-81, 84-87,

      90-91, 93, 96-98, 104, 108, 114, 120, 123, 128, 133, 138.5 Most Plaintiffs allege

      that following such doxxing postings, unknown “associates” of Exoo harassed or

      threatened them, their employers, or their family members. Id. ¶¶ 77, 97, 99, 101,

      102, 105-106, 108, 115-116, 123-124, 129, 134, 138. Six Plaintiffs (including

      D’Ambly) allege that they were subsequently terminated from their jobs. See id.




      5
             Though the FAC alleges that Exoo uses Twitter to “conduct violent and
      extortionate patterns of racketeering activities devoted to doxxing,” FAC at p. 2,
      notably, for eight of the twelve newly added Plaintiffs, the FAC contains no
      allegations that Exoo’s alleged “doxxing” actually occurred on Twitter. See FAC
      ¶¶ 76, 79, 84-85, 90-91, 96-98, 104, 120, 123, 128.




                                             -7-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 17 of 49 PageID: 1253



      ¶¶ 65, 78, 126, 128, 134, 141.6 Five Plaintiffs (including D’Ambly) allege that

      unknown “associates” of Exoo damaged their property. See id. ¶¶ 59, 82, 88, 94,

      130. One Plaintiff—Matthew Reidinger—alleges only that Exoo “doxed” him,

      but does not allege what—if anything—occurred as a result. Id. ¶¶ 119-121.

            The FAC does not allege that Twitter or Ms. Gadde fired any Plaintiffs

      from their jobs or damaged their property. Nor does it allege that Twitter or Ms.

      Gadde authored any of the posts that purportedly “disclosed” Plaintiffs’

      connections to their organizations or that either Twitter or Ms. Gadde had any

      interaction with any of Plaintiffs’ employers. The FAC also does not allege that

      any Plaintiff is or ever was a Twitter user or had or has a Twitter account; indeed,

      it affirmatively alleges that one Plaintiff (Thomas Louden) did not have a Twitter

      account. FAC ¶ 139.

            Instead, Plaintiffs seek to impose liability on Twitter and Ms. Gadde for

      allegedly not stopping Exoo from posting Tweets that purportedly contributed to

      Plaintiffs’ injuries. In particular, the FAC alleges that at some unspecified point,

      Twitter permanently banned two Twitter accounts operated by Exoo due to his

      having used those accounts for “doxxing” (FAC ¶ 30), and that although Twitter

      ordinarily bars individuals with banned accounts from creating a new one, Twitter



      6
             Paragraph 37 of the FAC vaguely alleges that “all Plaintiffs were
      terminated from employment due to the enterprise’s patterns of racketeering
      activities.” But this blanket allegation is contradicted by the FAC’s more specific
      allegations, which notably exclude any allegations about job loss for certain
      Plaintiffs, e.g., FAC ¶¶ 83-88, 103-106.


                                              -8-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 18 of 49 PageID: 1254



      purportedly allowed Exoo to create a new account, and then to change the name

      of that account from @DoxSavage to @AntiFashGordon. FAC ¶¶ 40-42.7 This,

      Plaintiffs contend, was inconsistent with a Twitter policy that prohibits its

      accountholders from using its platform for doxxing, which Twitter defines as

      “sharing someone’s private information without their permission,”8 and with a

      separate policy stating that a person whom Twitter has permanently suspended

      from its platform should not be able to create a new Twitter account (which the

      FAC refers to as a “‘ban evasion account’”). Id. ¶ 28.9 According to the FAC,

      Twitter’s supposed failure to prevent Exoo from violating these Rules makes

      Twitter and Ms. Gadde responsible for all harms to Plaintiffs that allegedly

      resulted, directly or indirectly, from Tweets posted using the @AntiFashGordon

      account, which the FAC asserts was controlled by Exoo.

            Based on these allegations, Plaintiffs assert thirteen claims for relief—five

      against Twitter and Ms. Gadde. Count Eleven asserts a claim for negligent

      entrustment against both of them on the theory that they allegedly knowingly

      allowed Exoo to continue to post on Twitter as @AntiFashGordon. FAC ¶¶ 218-



      7
             Twitter disputes this allegation, but accepts it as true solely for purposes
      of this motion.
      8
             Twitter Rules and Policies, “Private Information Policy” (Mar. 2019),
      https://help.twitter.com/en/rules-and-policies/personal-information
      (incorporated into FAC by reference at ¶ 29).
      9
            See Twitter General Guidelines and Policies, “Our Range of Enforcement
      Options,”     https://help.twitter.com/en/rules-and-policies/enforcement-options
      (incorporated into FAC by reference at ¶ 28).



                                               -9-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 19 of 49 PageID: 1255



      226. Count Twelve asserts a claim against Twitter and Ms. Gadde for breach of

      an alleged covenant of good faith for allegedly allowing Exoo to continue posting

      Tweets, and for allegedly not removing Tweets that Exoo posted. Id. ¶¶ 227-237.

      Finally, Counts Eight, Nine, and Ten assert violations of RICO and of the New

      Jersey anti-racketeering statute on a theory that Twitter and Ms. Gadde, along

      with Defendants Exoo, St. Lawrence University, and “unidentified associates,”

      together constituted an alleged criminal racketeering enterprise called the “Exoo

      Enterprise” that allegedly injured D’Ambly and the other Plaintiffs. Id. ¶¶ 186-

      217.10

                                     LEGAL STANDARD
               “To survive a motion to dismiss, a complaint must contain sufficient

      factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

      face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

      Twombly, 550 U.S. 544, 570 (2007)). Although the court on a motion under Rule

      12(b)(6) must “accept as true all material allegations,” Obado v. Magedson, 612

      F. App’x 90, 93 (3d Cir. 2015), a complaint must set forth “more than labels and

      conclusions, and a formulaic recitation of the elements of a cause of action will

      not do,” Twombly, 550 U.S. at 555.

                                         ARGUMENT
               All of Plaintiffs’ claims against Twitter and Ms. Gadde should be



      10
             The claim for violation of New Jersey’s racketeering statute is brought
      solely by Plaintiff D’Ambly. See FAC ¶¶ 186-190.


                                              -10-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 20 of 49 PageID: 1256



      dismissed pursuant to 47 U.S.C. § 230. Each claim seeks to hold Twitter and Ms.

      Gadde liable for “decisions relating to the monitoring, screening, and deletion of

      content” from Twitter’s platform. Green, 318 F.3d at 471. Such decisions about

      “whether to exclude material that third parties seek to post online [are] perforce

      immune under section 230.” Fair Hous. Council of San Fernando Valley v.

      Roommates.com, LLC, 521 F.3d 1157, 1170-1171 (9th Cir. 2008) (en banc).

            Even beyond Section 230, Plaintiffs fail to plausibly allege essential

      elements of any of their claims against Twitter or Ms. Gadde. They fail to state

      a claim for negligent entrustment because they do not allege that Twitter or Ms.

      Gadde provided Exoo a “dangerous instrumentality” or that any direct

      relationship existed between Twitter or Ms. Gadde’s alleged conduct and

      Plaintiffs’ alleged injuries. With respect to their racketeering claims, Plaintiffs

      fail to plausibly allege the necessary agreement, enterprise, conduct, proximate

      cause, and racketeering activity elements. Finally, Plaintiffs do not state a claim

      for either breach of an implied covenant of good faith and fair dealing or

      promissory estoppel because they fail to allege a single promise—much less a

      sufficiently definite and specific promise—that either Twitter or Ms. Gadde ever

      made to them.

      I.    Section 230 Immunizes Twitter And Ms. Gadde From Plaintiffs’
            Claims.
            Section 230(c)(1) provides that “[n]o provider or user of an interactive

      computer service shall be treated as the publisher or speaker of any information




                                             -11-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 21 of 49 PageID: 1257



      provided by another information content provider.” 47 U.S.C. § 230(c)(1). In

      addition, “[n]o cause of action may be brought and no liability may be imposed

      under any State or local law that is inconsistent with this section.” Id. § 230(e)(3).

      As the Third Circuit has explained, these provisions bar “‘lawsuits seeking to

      hold a service provider liable for its exercise of a publisher’s traditional editorial

      functions—such as deciding whether to publish, withdraw, postpone, or alter

      content.’” Green, 318 F.3d at 471 (quoting Zeran v. America Online, Inc., 129

      F.3d 327, 330 (4th Cir. 1997)). “‘Congress clearly enacted § 230 to forbid the

      imposition of publisher liability on a service provider for the exercise of its

      editorial and self-regulatory functions.’” Id. at 471. The statute thus precludes

      suits seeking to hold an interactive computer service liable for “decisions relating

      to the monitoring, screening, and deletion of content from its network.” Id.

            Courts across the country have repeatedly recognized that Congress

      enacted Section 230 to serve two important goals, both of which are directly

      implicated in this suit. First, because the “specter of tort liability” arising from

      “the communications of others” would have an “obvious chilling effect” on

      online intermediaries hosting huge volumes of third-party content, Congress

      enacted Section 230 to encourage and “maintain the robust nature of Internet

      communication and . . . to keep government interference in the medium to a

      minimum.” Zeran, 129 F.3d at 330-331; accord Force v. Facebook, Inc., 934

      F.3d 53, 63 (2d Cir. 2019); Obado v. Magedson, 2014 WL 3778261, at *4 (D.N.J.

      July 31, 2014), aff’d 612 F. App’x 90 (3d Cir. 2015); see also 47 U.S.C. §



                                              -12-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 22 of 49 PageID: 1258



      230(b)(2) (it is “the policy of the United States” to “preserve” the Internet’s

      “vibrant and competitive free market . . . unfettered by Federal or State

      regulation”). Fearing that service providers would “severely restrict the number

      and type of messages posted” in the face of potentially staggering litigation costs

      and liability, “Congress considered the weight of the speech interests implicated

      and chose to immunize service providers to avoid any such restrictive effect.”

      Zeran, 129 F. 3d at 331; see also Ben Ezra, Weinstein & Co., Inc. v. Am. Online,

      Inc., 206 F.3d 980, 985 n.3 (10th Cir. 2000). In sum, “Section 230 was enacted

      to ‘maintain the robust nature of internet communication and, accordingly, to

      limit government interference in the medium to a minimum.’” Saponaro v.

      Grindr, LLC, 93 F. Supp. 3d 319, 325 (D.N.J. 2015) (quoting Zeran, 129 F.3d at

      330).

              Second, Congress enacted Section 230 to address the concern that service

      providers might choose not to self-police their platforms for offensive or unlawful

      material out of fear that such action might subject them to liability that they would

      not otherwise face. See Zeran, 129 F.3d at 331; see also Barnes v. Yahoo!, Inc.,

      570 F.3d 1096, 1099-1100 (9th Cir. 2009); Backpage.com, LLC v. Hoffman, 2013

      WL 4502097, at *6 (D.N.J. Aug. 20, 2013). “Without the immunity provided in

      Section 230(c),” interactive computer services that “review material could be

      found liable for the statements of third parties, yet providers and users that

      disavow any responsibility would be free from liability.” Batzel v. Smith, 333

      F.3d 1018, 1029 (9th Cir. 2003), superseded by statute on other grounds.



                                              -13-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 23 of 49 PageID: 1259



      Congress sought, in other words, “to spare interactive computer services the grim

      choice” between “taking responsibility for all messages and deleting no messages

      at all.” Roommates, 521 F.3d at 1163.

            “‘The elements required for [Section 230(c)] immunity are: (1) that the

      defendant is a provider or user of an ‘interactive computer service;’ (2) that the

      asserted claims treat the defendant as the publisher or speaker of the information;

      and (3) that the information is provided by another ‘information content

      provider.’” Inventel Prods., LLC v. Li, 2019 WL 5078807 at *8 (D.N.J. Oct. 10,

      2019) (quoting Parker v. Google, Inc., 242 F. App’x 833, 838 (3d Cir. 2007)).

      Each of these elements is amply satisfied for all of Plaintiffs’ claims against

      Twitter and Ms. Gadde because they all seek to impose liability on Twitter and

      Ms. Gadde for allegedly failing to block or remove certain content that was

      allegedly authored and posted by Exoo.

            First, Twitter is unquestionably a “provider” of an “interactive computer

      service.” The statute defines “interactive computer service” to include “any

      information service, system, or access software provider that provides or enables

      computer access by multiple users to a computer server.” 47 U.S.C. § 230(f)(2).

      Twitter satisfies this definition because it operates an online platform that allows

      others to access its servers and to upload content that may be shared with others

      worldwide. See, e.g., Crosby v. Twitter, Inc., 921 F.3d 617, 627 n.7 (6th Cir.

      2019); Fields v. Twitter, Inc., 200 F. Supp. 3d 964, 969 (N.D. Cal. 2016), aff’d

      on other grounds 881 F.3d 739 (9th Cir. 2018); Jones v. Twitter, Inc., 2020 WL



                                             -14-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 24 of 49 PageID: 1260



      6263412, at *3 (D. Md. Oct. 23, 2020). Indeed, the FAC specifically alleges (and

      thereby admits) that the Twitter platform is an “interactive computer service.”

      See FAC ¶ 188 (“Defendant Exoo used an interactive computer service to direct

      the Exoo Enterprise’s patterns of racketeering activities”) (emphasis added).

            Ms. Gadde likewise satisfies the definition of a “provider” of an

      “interactive computer service” because Plaintiffs seek to hold her liable for “[her]

      role in making [an interactive computer service] available.”           Klayman v.

      Zuckerberg, 753 F.3d 1354, 1357-1358 (D.C. Cir. 2014) (holding senior

      executive of Facebook to be a “provider” of an “interactive computer service”

      entitled to the protections of Section 230); see also Igbonwa v. Facebook, Inc.,

      2018 WL 4907632, at *5 (N.D. Cal. Oct. 9, 2018) (same). Plaintiffs’ claims

      against Ms. Gadde specifically stem from her alleged role as the “sole decision

      maker and person authorized to permanently ban Twitter users who violated

      Twitter’s Terms of Service and Rules.” FAC ¶ 20. That means that she has the

      same protections under Section 230 as does Twitter. Klayman, 753 F.3d at 1357-

      1358; Igbonwa, 2018 WL 4907632, at *5.

            Second, all of Plaintiffs’ claims against Twitter and Ms. Gadde seek to hold

      them liable for their alleged failure to block or take down information (Tweets)

      posted by another “information content provider” (allegedly Christian Exoo).

      See FAC ¶¶ 188, 205, 212, 225, 234-236.             Section 230(f)(3) defines an

      “information content provider” as “any person or entity that is responsible, in

      whole or in part, for the creation or development” of the content at issue. In



                                             -15-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 25 of 49 PageID: 1261



      assessing this requirement, a court asks whether the online service provider itself

      “creat[ed] or develop[ed]” the content at issue, or whether someone else—i.e.,

      one   or   more   “third parties”—did         so.   Nemet    Chevrolet, Ltd. v.

      Consumeraffairs.com, Inc., 591 F.3d 250, 254 (4th Cir. 2009); Green, 318 F.3d

      at 470. Here, the FAC alleges that it was Exoo—not Twitter or Gadde—who

      authored and posted all of the Tweets that allegedly led indirectly to Plaintiffs’

      injuries. FAC ¶¶ 44-45, 48, 49, 51, 58, 61, 76, 79, 97, 104, 108, 114, 120, 123,

      128, 133, 138. Those Tweets thus plainly constituted “information created by

      another information content provider.”

            Third, each of Plaintiffs’ claims against Twitter and Ms. Gadde seeks to

      treat Twitter and Gadde as the “publisher or speaker” of content created by

      another, because each claim seeks to hold Twitter and Ms. Gadde liable for

      “decisions relating to the monitoring, screening and deletion of content from

      [Twitter’s] network—actions quintessentially related to a publisher’s role.”

      Green, 318 F.3d at 471; see also Obado, 612 F. App’x at 94. Plaintiffs style their

      claims against Twitter and Ms. Gadde as claims for negligent entrustment, breach

      of federal and state racketeering statutes, and “breach of implied covenant of good

      faith—promissory estoppel.” FAC ¶¶ 186-237. But the essence of each claim

      is an allegation that Twitter and Ms. Gadde failed to suspend Exoo’s Twitter

      account (allegedly @AntiFashGordon) and failed to remove Exoo’s Tweets. See

      FAC ¶ 199 (challenging supposed “affirmative decision to allow Exoo . . . [to]

      create a ban evasion account”); Id. ¶ 225 (same); Id. ¶ 231 (same); Id. ¶ 235



                                             -16-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 26 of 49 PageID: 1262



      (alleging that Twitter and Gadde “have not removed Plaintiffs[’] doxed

      information”). Courts routinely recognize that claims such as these, challenging

      “the criteria (or lack thereof) for obtaining an account and posting on the platform,

      are themselves editorial choices that fall within the purview of traditional

      publisher functions” fully protected by Section 230. Force v. Facebook, Inc., 304

      F. Supp. 3d 315, 328 (E.D.N.Y. 2018), aff’d 934 F.3d 53 (2d Cir. 2019), cert.

      denied 140 S. Ct. 2761 (2020); accord Gonzalez v. Google, Inc., 335 F. Supp. 3d

      1156, 1171 (N.D. Cal. 2018); Fields, 200 F. Supp. 3d at 972.

            “Once CDA immunity applies, providers are immune from ‘any’ claim

      arising out of content originating from a third party, regardless of the theory

      underlying the cause of action.” Obado, 2014 WL 3778261, at *4. In other

      words, in determining whether a plaintiff’s theory of liability treats a defendant

      as a publisher, “what matters is not the name of the cause of action . . . what

      matters is whether the cause of action inherently requires the court to treat the

      defendant as the ‘publisher or speaker’ of content provided by another.” Id.

      (quoting Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1101-1102 (9th Cir. 2009)). This

      flexible test prevents plaintiffs from using “artful” or “creative pleading” to

      “work around § 230.” Kimzey v. Yelp! Inc., 836 F.3d 1263, 1265-1266 (9th Cir.

      2016). Courts have accordingly found that Section 230 bars a wide array of

      different claims and legal theories, including each of the theories that Plaintiffs

      attempt to deploy here. See, e.g., Baldino’s Lock & Key Serv., Inc. v. Google,

      Inc., 88 F. Supp. 3d 543, 547 (E.D. Va. 2015) (RICO); Icon Health & Fitness,



                                              -17-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 27 of 49 PageID: 1263



      Inc. v. Consumer Affairs.com, 2017 WL 2728413, at *5 (D. Utah June 23, 2017)

      (RICO); Manchanda v. Google, 2016 WL 6806250, at *2 (S.D.N.Y. Nov. 16,

      2016) (RICO); Doe v. Oesterblad, 2015 WL 12940181, at *2 (D. Ariz. June 9,

      2015) (RICO); Davis v. Motiva Enterprises, L.L.C., 2015 WL 1535694, at *5

      (Tex.    Ct.   App.   Apr.   2,   2015)     (negligent   entrustment);   Hinton   v.

      Amazom.com.dedc, LLC, 72 F. Supp. 3d 685, 687 (S.D. Miss. 2014) (breach of

      duty of good faith and fair dealing).11

              Dismissing Twitter and Ms. Gadde from this action based on Section 230

      will not leave Plaintiffs without a remedy for any online content that allegedly

      injured them. “Parties complaining that they were harmed by a Web site’s

      publication of user-generated content have recourse; they may sue the third-party

      user who generated the content, but not the interactive computer service that

      enabled them to publish the content online.” Doe v. MySpace, Inc., 528 F.3d 413,

      419 (5th Cir. 2008). Nothing in Section 230, in other words, “‘means . . . that

      [an] original culpable party who posts [harmful] messages would escape



      11
             The Ninth Circuit has held that Section 230 does not reach a promissory
      estoppel claim that is based on a one-off express promise made directly to the
      plaintiff by an employee of the platform provider who was not part of the
      platform’s content-moderation team. See Barnes, 570 F. 3d at 1101-1103. That
      case lends no support to Plaintiffs here. While they style their twelfth count as
      “breach of the implied covenant of good faith—promissory estoppel,” none of
      them allege that Twitter (or Ms. Gadde) said anything to them, much less made
      any promise to any of them. The twelfth count thus fails, both because Plaintiffs
      have not demonstrated any basis for this claim to circumvent Section 230
      immunity, see Obado, 612 F. App’x at 94, and because they have not pled
      essential elements of a claim for “promissory estoppel,” see infra pp. 35-36.


                                                -18-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 28 of 49 PageID: 1264



      accountability.” Id. (quoting Zeran, 129 F.3d at 330-331); Obado, 2014 WL

      3778261, at *9 (plaintiff “not entirely without recourse” as he “may bring suit

      against the actual bloggers who wrote these defamatory posts”).             Indeed,

      Plaintiffs have asserted claims in this very case against the person they believe

      was the “original culpable party who post[ed]” the messages at issue. MySpace,

      528 F.3d at 419. But through Section 230, “‘Congress made a policy choice . . .

      not to deter harmful online speech through the separate route of imposing tort

      liability on companies that serve as intermediaries for other parties’ potentially

      injurious messages.’” Id. (quoting Zeran, 129 F.3d at 330-331). Accordingly, all

      of Plaintiffs’ claims against Twitter and Ms. Gadde should be dismissed.

      II.   All Of Plaintiffs’ Claims Against Twitter And Ms. Gadde Should Be
            Dismissed For Failure To Plead Essential Elements Of Each Claim.
            All of Plaintiffs’ five claims against Twitter and Ms. Gadde independently

      also fail as a matter of law because the FAC does not plausibly allege the essential

      elements of each claim.

            A.     The FAC Fails To State A Claim For Negligent Entrustment
                   Against Either Twitter Or Ms. Gadde [Count XI].

            Plaintiffs’ claim against Twitter and Ms. Gadde for negligent entrustment

      (Count Eleven) fails because of three independently fatal defects.

            First, the FAC does not plausibly allege that Twitter or Ms. Gadde

      provided anyone with a “dangerous instrumentality”—such as a vehicle, or a

      gun—as is required for a negligent entrustment claim. City of Philadelphia v.

      Beretta U.S.A., Corp., 126 F. Supp. 2d 882, 902-903 (E.D. Pa. 2000), aff’d 277



                                             -19-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 29 of 49 PageID: 1265



      F.3d 415 (3d Cir. 2002); New Jersey Citizens United v. Hernandez, 2006 WL

      686571, at *4 (D.N.J. Mar. 20, 2006). Some courts have held that the provision

      of a “service,” such as Twitter’s online platform, can never form the basis of a

      negligent entrustment claim, reasoning that the tort applies only to the

      entrustment of a chattel. See, e.g., Doe v. GTE Corp., 347 F.3d 655, 661 (7th Cir.

      2003) (dismissing claims premised on the alleged entrustment of web hosting

      services, and noting that “[p]laintiffs do not cite any case in any jurisdiction

      holding that a service provider must take reasonable care to prevent injury to third

      parties.”); see also Restatement (Second) of Torts § 318. But even setting that

      problem aside, Twitter’s services do not constitute “dangerous instrumentalities,”

      as they are not dangerous in any sense contemplated by the law of negligent

      entrustment and do not become so simply because someone might use them

      improperly.    Indeed, in addressing a similar issue under the federal Anti-

      Terrorism Act, courts have rejected any notion that “providing routine [social

      media] services,” even to terrorists, is “so akin to providing a loaded gun to a

      child” that provision of the services could be considered “violent or life-

      endangering.” Crosby v. Twitter, Inc., 303 F. Supp. 3d 564, 576 (E.D. Mich.

      2018).

            Second, Plaintiffs’ alleged injuries are far too remote from the Twitter

      Defendants’ alleged conduct to survive a motion to dismiss.            See City of

      Philadelphia, 277 F.3d at 422-423 (dismissing negligent entrustment claims

      based on the “weak causal connection” between defendants’ alleged conduct and



                                             -20-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 30 of 49 PageID: 1266



      plaintiffs’ alleged injuries). Plaintiffs never allege that either Twitter or Ms.

      Gadde intended to harm them or even that Twitter or Ms. Gadde knew who they

      were—failings that, by themselves, tend to negate the existence of a sufficient

      causal connection between Twitter and Ms. Gadde’s conduct and Plaintiffs’

      alleged injuries.   See id. at 424 (“plaintiffs do not contend that the gun

      manufacturers intend to inflict injury upon the citizens of Philadelphia”); Camden

      Cnty. Bd. Of Chosen Freeholders v. Beretta U.S.A. Corp., 123 F. Supp. 2d 245,

      259 (D.N.J. 2000) (similar). And the supposed chain of causation Plaintiffs

      allege is far too “long and tortuous” to support their claims. City of Philadelphia,

      277 F.3d at 423.

            Consider, for example, the allegations by Plaintiff D’Ambly. He points to

      two injuries—that he was fired from his job (FAC ¶ 63), and that his vehicle was

      vandalized (FAC ¶ 59). But numerous intervening events and independent actors

      stand between those alleged injuries and the conduct that the FAC attributes to

      Christian Exoo, let alone Twitter and Ms. Gadde:

       D’Ambly’s vehicle was allegedly vandalized by unknown individuals, who

         are not alleged to have had any connection with Exoo. See FAC ¶ 59.

       The Daily News terminated D’Ambly after it received phone calls from

         unknown individuals who informed the Daily News of D’Ambly’s ties to the

         EHA. FAC ¶¶ 54, 63. The Daily News then questioned D’Ambly and

         concluded that he was “not an innocent victim” and that the calls were




                                             -21-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 31 of 49 PageID: 1267



         attributable to D’Ambly’s “choice to associate with the [EHA] and go into the

         public making anti-Semitic and racist comments.” ECF No. 35-2 at 3.

       D’Ambly admitted to the Daily News that he had “use[d] imprudent language”

         during political rallies. FAC ¶ 50; see also ECF No. 35-2 at 2. The Daily

         News deemed such conduct to be in “stark contrast to the values and mission

         of our newspaper and this company,” thus warranting providing D’Ambly

         with a “Last and Final Warning.” ECF No. 35-2 at 2; FAC ¶ 56.

       Third-party Insite Risk Management separately published a report that also

         contributed to D’Ambly’s termination. FAC ¶ 46. The report confirmed

         D’Ambly’s involvement in the EHA and referenced videos showing his use

         of “imprudent language” during political rallies. FAC ¶ 46.

             In short, the independent decisions of at least five sets of independent

      actors—the Daily News, Insite Risk Management, the person(s) who called the

      Daily News, the person(s) who vandalized D’Ambly’s car, and D’Ambly

      himself—sever the requisite “causal connection” between the alleged conduct of

      Exoo and D’Ambly’s injuries. And Twitter and Ms. Gadde are even further

      removed from Exoo’s actions.

             For each of the other Plaintiffs, the FAC likewise fails to establish the

      necessary “causal connection” between each of their alleged injuries and the

      alleged conduct of Twitter and Ms. Gadde. City of Philadelphia, 277 F. 3d at

      423.    These other Plaintiffs point to lost jobs, property damage, and/or

      reputational harm. FAC ¶¶ 74, 78, 82, 88, 94, 102, 106, 118, 126, 130, 135, 141.



                                            -22-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 32 of 49 PageID: 1268



      Of course, there are no allegations that either Twitter or Ms. Gadde terminated

      any Plaintiff’s employment or inflicted any property or reputational damage.

      There are likewise no allegations that either Twitter or Ms. Gadde threatened any

      Plaintiff, or any Plaintiff’s employer. Nor are there any allegations that either

      Twitter or Ms. Gadde encouraged anyone else to take such actions or that they

      wanted or intended for such threats to be made. Twitter and Ms. Gadde are thus

      at least several steps removed from the injuries alleged in the FAC.

            And numerous Plaintiff-specific allegations widen the gap even further.

      For example, three Plaintiffs base their claims on “doxxing” that allegedly began

      in August 2017, more than a year before Twitter and Gadde allegedly allowed

      Exoo to undergo a name change in lieu of a permanent ban from the platform.

      FAC ¶¶ 42, 76, 84, 90. For several other Plaintiffs, the FAC contains allegations

      that the Plaintiff “was doxed” without specifying whether it was Mr. Exoo or

      someone else who carried out the doxxing. FAC ¶¶ 104, 114. Other Plaintiffs

      admit that their membership or leadership in controversial organizations was

      public. Plaintiff Schwetz, for example, alleges that before his receipt of harassing

      messages, he was “photographed with other Proud Boys that participated in [a]

      cleanup event.” Id. ¶ 114. Plaintiff Hugo alleges that he is the “President” of

      Super Happy Fun America, a group “best known” for organizing the 2019 Boston

      Straight Pride Parade. Id. ¶ 15; see also supra p. 5 (detailing similar allegations).

      Given those allegations, the Court should not accept the FAC’s conclusory

      statements that it was the Tweets that Plaintiffs attribute to Exoo, as opposed to



                                              -23-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 33 of 49 PageID: 1269



      Plaintiffs’ own voluntary decisions to publicly align themselves with

      controversial organizations, that led other actors to harass Plaintiffs, fire them

      from their jobs, or damage their property. And any connection of those alleged

      injuries to Twitter or Ms. Gadde is even more attenuated.

            Third, to the extent that Plaintiffs’ negligent entrustment claim is construed

      as an ordinary negligence claim, it fails for the additional reason that the FAC

      does not plausibly allege that Twitter or Ms. Gadde owed any legal duty to

      Plaintiffs. City of Philadelphia, 126 F. Supp. 2d at 898. “In the negligence

      context . . . a defendant has no duty to control the misconduct of third parties.”

      Camden Cnty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp., 273 F. 3d 536,

      541 (3d Cir. 2001). And absent special circumstances, such as a close relationship

      between the defendant and the person injured, a defendant is generally under “no

      legal duty to protect citizens from the deliberate and unlawful use of [its]

      products” or services. City of Philadelphia, 277 F.3d at 425. The FAC does not

      assert that any of the Plaintiffs had any relationship with Twitter or Ms. Gadde

      whatsoever. Plaintiffs thus have no basis to claim that Twitter or Ms. Gadde

      owed them any duty of care. See Saponaro, 93 F. Supp. 3d at 326 (dismissing

      negligence claim on ground that operator of social networking platform did not

      owe plaintiff a duty of care); Godwin v. Facebook, Inc., 160 N.E. 3d 372, 379-

      383 (Ohio Ct. App. 2020) (same); Herrick v. Grindr, LLC, 306 F. Supp. 3d 579,

      598-599 (S.D.N.Y. 2018) (same even where plaintiff was a user of the social




                                             -24-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 34 of 49 PageID: 1270



      networking platform). This claim should, accordingly, be dismissed as a matter

      of state law.

            B.        Plaintiffs Fail To State A Claim Against Either Twitter Or Ms.
                      Gadde For Racketeering, Under Either New Jersey Or Federal Law
                      [Counts VIII-X].

            Plaintiffs’ three racketeering claims against Twitter and Ms. Gadde—

      alleged racketeering in violation of N.J.S.A. 2C:41 to 2C:41-6.2 (Count Eight)

      and alleged violation and conspiracy to violate the federal RICO statute (Counts

      Nine and Ten)—likewise suffer from fatal defects. At the outset, it is important

      to note that although RICO’s text is broad, the Supreme Court has cautioned that

      its breadth is “not an invitation to apply RICO to new purposes that Congress

      never intended.” Reves v. Ernst & Young, 507 U.S. 170, 183 (1993). Most

      relevant in this context, courts should be particularly wary of stretching civil

      RICO’s elements to encompass “fully protected First Amendment activity.”

      Nat’l Org. for Women, Inc. v. Scheidler, 510 U.S. 249, 264 (1994) (Souter, J.,

      concurring). That warning applies here, where Plaintiffs challenge Twitter’s

      decisions about “what to publish and what not to publish on its platform”—

      decisions that are fully protected by the First Amendment.         La ‘Tiejira v.

      Facebook, Inc., 272 F. Supp. 3d 981, 991 (S.D. Tex. 2017).12


      12
            Accord Jian Zhang v. Baidu.com, Inc., 10 F. Supp. 3d 433, 436 (S.D.N.Y.
      2014) (search engine results protected by First Amendment); Langdon v.
      Google, Inc., 474 F. Supp. 2d 622, 630 (D. Del. 2007) (same); see also Miami
      Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974) (First Amendment
      protects right to “exercise of editorial control and judgment” over the “choice of
      material to go into a newspaper”).


                                             -25-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 35 of 49 PageID: 1271



            These principles dictate that each of Plaintiffs’ racketeering claims against

      Twitter and Ms. Gadde be dismissed with prejudice. For each, Plaintiffs fail to

      plausibly allege: (1) the requisite “agreement” required for a RICO conspiracy

      claim, or the requisite “enterprise” element for any RICO claim; (2) the requisite

      “conduct” element for a racketeering offense; (3) that Plaintiffs were injured “by

      reason of” any alleged predicate acts; and (4) the requisite predicate acts of

      “racketeering.” See Sedima, S.P.R.L v. Imrex Co., Inc., 473 U.S. 479, 496-497

      (1985); United Support Solutions v. LaPierre, 2014 WL 3058561, at *2 (D.N.J.

      July 7, 2014).

                   1.    The FAC fails to plausibly allege Twitter or Ms. Gadde were
                         part of any racketeering “agreement” or “enterprise.”

            Plaintiffs’ claim of conspiracy to commit a RICO offense (Count Ten) fails

      at the outset, because the FAC does not plausibly allege that either Twitter or Ms.

      Gadde reached any “agreement” with the other alleged RICO enterprise

      participants to “facilitate a scheme which includes the operation or management

      of a RICO enterprise.” Smith v. Berg, 247 F.3d 532, 538 (3d Cir. 2001). The

      FAC alleges that certain unnamed “associates” of Christian Exoo reached an

      agreement with Exoo to send harassing messages targeting individuals who Exoo

      had “doxed” as “fascists” and “white supremacists.” See, e.g., FAC ¶¶ 32-35, 45,

      77. But the FAC contains no plausible allegations that Twitter or Ms. Gadde ever

      agreed to participate in that scheme. There are no allegations that Twitter or Ms.

      Gadde expressly reached any “agreement” with the other alleged enterprise




                                             -26-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 36 of 49 PageID: 1272



      participants—in fact, there are no allegations that Twitter or Ms. Gadde ever even

      met or communicated with the other alleged enterprise participants. And though

      a single paragraph of the FAC states that the conduct alleged “gives rise to an

      inference” of an agreement between Twitter and Ms. Gadde and the other

      members of the “enterprise” (FAC ¶ 213), “[a] conspiracy claim must . . . contain

      supportive factual allegations” and “mere inferences from the complaint are

      inadequate to establish the necessary factual basis.” Rose v. Bartle, 871 F.2d 331,

      366 (3d Cir. 1989). The FAC does not contain any such supporting factual

      allegations and accordingly, this Count should be dismissed.

            This same defect prevents Plaintiffs from establishing the requisite

      racketeering “enterprise” element required for each of Plaintiffs’ racketeering

      claims (Counts Eight and Nine). Both the federal RICO statute and the New

      Jersey racketeering statute require a plaintiff to plead (and ultimately prove) the

      existence of an “enterprise.” Sedima, 473 U.S. at 496; Sharp v. Kean University,

      153 F. Supp. 3d 669, 674 (D.N.J. 2015). The FAC must therefore plead facts

      “plausibly implying the existence of an enterprise with . . . a shared purpose,

      relationships among those associated with the enterprise, and longevity sufficient

      to permit these associates to pursue the enterprise’s purpose.” In re Insurance

      Brokerage Antitrust Litig., 618 F.3d at 369-370; see also McCullough v. Zimmer,

      Inc., 382 F. App’x 225, 231 (3d Cir. 2010) (analyzing RICO); Lentini v.

      McDonald’s USA, Inc., 2019 WL 4746420, at *5 (D.N.J. Sept. 30, 2019)

      (analyzing RICO and N.J.S.A. § 2C:41-2). But Plaintiffs fails to allege any



                                             -27-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 37 of 49 PageID: 1273



      “relationship” at all among Twitter and Ms. Gadde, on the one hand, and the other

      alleged “enterprise” participants, on the other. The FAC suggests, at most, that

      Twitter and Ms. Gadde, Mr. Exoo, and St. Lawrence University acted in parallel,

      not that they acted at the behest of one another. In re Insurance Brokerage

      Antitrust Litig., 618 F.3d at 374 (mere allegations of “parallel conduct” do not

      support an inference that defendants “associated together for a common

      purpose.”). Moreover, “the [FAC] alleges no structure of an enterprise outside

      of the group’s [alleged] conspiracy to perform the underlying criminal offenses.”

      Leeder v. Feinstein, 2019 WL 2710794, at *9 (D.N.J. June 28, 2019). Indeed,

      there are no allegations that Twitter and Ms. Gadde even knew of the existence

      of one of the other alleged “enterprise” members, St. Lawrence University. But

      “[w]ithout some allegation as to how these entities are connected, Plaintiffs

      cannot allege the existence of an association in fact enterprise.” Lentini, 2019

      WL 4746420, at *6.

            Nor does the FAC adequately allege any common “purpose” between and

      among Twitter and Ms. Gadde and the other alleged “enterprise” participants.

      See United States v. Turkette, 452 U.S. 576, 583 (1981) (“[A]n enterprise is an

      entity, . . . a group of persons associated together for a common purpose of

      engaging in a course of conduct.”). While the FAC alleges that the purpose of

      the “enterprise” was to “dox fascists and white supremacists . . . in order to use

      the doxed information to conduct patterns of racketeering activities to threaten

      violence, intimidate, harass, and extort others” (FAC ¶ 193), there are no



                                             -28-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 38 of 49 PageID: 1274



      allegations that either Twitter or Ms. Gadde ever participated in these activities

      or ever desired “to threaten violence, intimidate, harass, and extort” anyone. The

      FAC alleges only that Twitter desired to potentially “increases[] ad revenue” (Id.

      ¶ 202) and to “defend[] ‘marginalized communities’” (Id. ¶ 203), and that Gadde

      held an “Oresteian desire to avenge her parents perceived [racist] mistreatment”

      (Id. ¶ 201). Even accepting those allegations as true (for purposes of a motion to

      dismiss), they do not even remotely suggest that either Twitter and Ms. Gadde

      “combined as a unit” with Christian Exoo and St. Lawrence University for the

      “common purpose” of conducting racketeering activities. See McCullough, 382

      F. App’x at 232.

                   2.     The FAC fails to plausibly allege that Twitter or Ms. Gadde
                          engaged in the requisite racketeering “conduct.”

            Plaintiffs’ racketeering claims against Twitter and Ms. Gadde also fail

      because Plaintiffs have not plausibly alleged that either Twitter or Ms. Gadde

      participated in the alleged enterprise “through a pattern of racketeering activity.”

      In re Insurance Brokerage Antitrust Litig., 618 F.3d at 371. “The plain language

      of [RICO] requires that the ‘pattern of racketeering activity’ be a means by which

      the defendant participates, directly or indirectly, in the conduct of [the]

      enterprise’s affairs.” Id. Thus, “[s]imply because one provides goods or services

      that ultimately benefit the enterprise does not mean that one becomes liable under

      RICO as a result.” Univ. of Maryland at Baltimore v. Peat, Marwick, Main &

      Co., 996 F.2d 1534, 1539 (3d Cir. 1993). Courts routinely dismiss claims where




                                             -29-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 39 of 49 PageID: 1275



      plaintiffs fail to allege that the defendants themselves engaged in any racketeering

      activity. See, e.g., Tedeschi v. Smith, 2010 WL 148424, at *4 (D.N.J. Jan. 12,

      2010) (dismissing claims where defendant’s conduct was “opening and

      maintaining of a bank account utilized” by one of the individuals responsible for

      the alleged pattern of racketeering). The same is true under New Jersey’s

      racketeering statute. See State v. Ball, 632 A.2d 1222, 1252 (N.J. Super. Ct. App.

      Div. 1993) (plaintiff must establish that defendant “participated in the affairs of

      the enterprise . . . through a pattern of racketeering activity.”).

            Here, even if “doxxing” or the sending of harassing messages could be

      construed as “racketeering activity,” but see infra pp. 32-34, the FAC contains no

      allegations that either Twitter or Ms. Gadde engaged in doxxing or harassment.

      The FAC does not explain how the conduct ascribed to Twitter and Ms. Gadde—

      allegedly allowing Exoo to continue to maintain his Twitter account, allegedly

      failing to prevent Exoo from violating certain Twitter rules, and allegedly failing

      to remove various Tweets the FAC attributes to Exoo, FAC ¶¶ 30, 199, 200—

      could constitute any predicate offense, whether extortion, terroristic threats, or a

      violation of the Travel Act. See infra pp. 32-34.

            Moreover, Twitter’s and Ms. Gadde’s alleged actions or inactions relate

      entirely to Twitter’s own business: they concern Twitter’s internal decision-

      making about how to enforce its own rules. But to assert a racketeering claim, a

      plaintiff must plausibly allege that the defendant participated in “the conduct of




                                               -30-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 40 of 49 PageID: 1276



      the enterprise’s affairs, not just [its] own affairs.” In re Insurance Brokerage

      Antitrust Litig., 618 F.3d at 371. And under federal law, plaintiffs must assert not

      mere “participation” in the affairs of the enterprise, but that the defendants

      participated in the “operation or management” of the enterprise. Reves, 507 U.S.

      at 177-178. Here, however, the FAC is devoid of any allegations that either

      Twitter or Ms. Gadde played any kind of “management” or “operation[al]” role

      in the alleged “Exoo enterprise.”

                   3.     The FAC fails to plausibly allege that Plaintiffs were injured
                          “by reason of” any alleged predicate acts.

            Plaintiffs’ racketeering claims also fail because the FAC does not plausibly

      allege that Plaintiffs were injured “by reason of” any of the alleged predicate acts.

      See 18 U.S.C. § 1964(c); N.J.S.A. § 2C:41-4c. To satisfy this requirement, the

      FAC would have to plausibly allege that the alleged racketeering conduct was the

      proximate cause of Plaintiffs’ alleged injuries.        Holmes v. Secs. Investor

      Protection Corp., 503 U.S. 258, 269 (1992). Proximate cause requires “some

      direct relation between the injury asserted and the injurious conduct alleged.” Id.

      at 268. But as previously explained, see supra pp. 21-24, the FAC fails to

      plausibly allege any such “direct relation” between the alleged “racketeering” and

      Plaintiffs’ alleged injuries. Moreover, at least for Plaintiff D’Ambly, the FAC

      points to additional, and independent, causes for his alleged injuries. See supra

      pp. 21-22. Where, as here, “[m]ultiple steps . . . separate the alleged [predicate

      offenses] from the asserted injury” and a plaintiff’s “theory of liability rests on




                                              -31-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 41 of 49 PageID: 1277



      the independent actions of third and even fourth parties,” the “by reason of”

      requirement is not satisfied. See Hemi Grp., LLC v. City of New York, N.Y., 559

      U.S. 1, 4, 15 (2010).

                   4.    The FAC fails to plausibly allege the requisite predicate
                         acts.

            Plaintiffs’ racketeering claims also fail because the FAC does not allege

      any conduct that constitutes “racketeering activity.” See 18 U.S.C. § 1961(1);

      Doug Grant, Inc. v. Greate Bay Casino Corp., 232 F.3d 173, 184 (3d Cir. 2000)

      (dismissing claims for failure to allege RICO predicate offense); St. Clair v.

      Citizens Financial Grp., 340 F. App’x 62, 66 (3d Cir. 2009) (same).

            The RICO statute sets out a list of predicate acts that constitute

      “racketeering activity.” 18 U.S.C. § 1961(1). This list is “exhaustive.” St. Clair,

      340 F. App’x at 66. New Jersey’s racketeering statute likewise provides an

      exhaustive list of predicate acts in N.J.S.A. 2C:41. Pro. Cleaning & Innovative

      Bldg. Servs., Inc. v. Kennedy Funding, Inc., 2009 WL 1651131, at *6 (D.N.J. June

      12, 2009). Here, Plaintiffs allege that Exoo and his associates participated in

      “doxxing”—i.e., the public disclosure of otherwise private information about

      others for the purpose of causing them harm. See FAC ¶ 193. They also allege

      that unnamed associates of Exoo’s “enterprise” sent harassing messages to

      Plaintiffs and others affiliated with Plaintiffs, and in some instances damaged

      Plaintiffs’ property. See, e.g., FAC ¶¶ 77, 82. But neither doxxing nor sending

      harassing messages is among the enumerated “racketeering activity” offenses




                                             -32-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 42 of 49 PageID: 1278



      listed in either the federal or New Jersey RICO statutes. As a result, Plaintiffs try

      to recast their doxxing allegations as “extortion” (which is an enumerated offense

      under both the federal and New Jersey RICO statutes) or “terroristic threats”

      (which is enumerated under the New Jersey RICO statute). See, e.g., FAC ¶¶

      205, 188(b), 188(c).13 The FAC’s allegations, however, do not plausibly establish

      either of those enumerated offenses.

            As to extortion, the FAC points, respectively, to the federal and New Jersey

      extortion statutes, 18 U.S.C. § 1951, and N.J.S.A. 2C:41(a)(1)(h).14 See FAC

      ¶¶ 188(b), 205. Both federal and New Jersey law “define[] extortion as ‘the

      obtaining of property from another, with his consent, induced by wrongful use of

      actual or threatened force, violence, or fear, or under color of official right.” St.

      Clair, 340 F. App’x at 67 (emphasis added); Scheidler v. Nat’l Org. for Women,

      Inc., 537 U.S. 393, 397 (2003) (“We hold that petitioners did not commit

      extortion because they did not obtain property from respondents.”); Roman

      Restoration, Inc. v. Operative Plasterers & Cement Masons’ Int’l Assoc. of the

      U.S. & Canada # 8, 2008 WL 2684350, at *4 (D.N.J. June 30, 2008) (dismissing

      RICO claims predicated on the New Jersey extortion statute for failure to allege



      13
             The FAC also cites to the federal Travel Act, 18 U.S.C. § 1952, which is
      an enumerated racketeering offense and which prohibits the use of any “facility
      in interstate or foreign commerce” to commit extortion in violation of state law.
      See 18 U.S.C. § 1961(1).
      14
            The FAC does not allege extortion under any state’s law other than New
      Jersey’s.



                                              -33-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 43 of 49 PageID: 1279



      “that the defendant obtain[ed] the plaintiff’s property.”). The FAC, however,

      does not allege that any member of the alleged Exoo Enterprise ever obtained

      “property from another.” It alleges, at most, that enterprise associates engaged in

      harassment and property damage. But there are no allegations that Defendants

      “pursued [or] received something of value from [Plaintiffs] that they could

      exercise, transfer, or sell,” as necessary to constitute “extortion.” Scheidler, 537

      U.S. at 405; accord Roman Restoration, 2008 WL 2684350, at *4. Consequently,

      Plaintiffs have not plausibly alleged an “extortion” predicate offense, under either

      federal or state law.

            The FAC likewise fails to allege a violation of the New Jersey “terroristic

      threats” statute, which only D’Ambly invokes as a New Jersey RICO predicate

      offense.   See FAC ¶ 188c (citing N.J.S.A. 2C:41(a)(1)(bb)).          That offense

      necessarily involves threats made “with the purpose to terrorize another or to

      cause the evacuation of a building, place of assembly, or facility of public

      transportation, or otherwise to cause serious public inconvenience, or in reckless

      disregard of the risk of causing such terror or inconvenience.” See FAC ¶ 188;

      N.J.S.A. 2C:41(a)(1)(bb); N.J.S.A. § 2C:12-3. D’Ambly’s allegations fall far

      short of that standard, as the only “purpose” that the FAC ascribes to the

      individuals who allegedly “threatened” his employer was a desire to “warn them

      about Daniel D’Ambly” and lobby for his termination. FAC ¶ 45.




                                             -34-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 44 of 49 PageID: 1280



            C.     Plaintiffs Fail To State A Claim Against Twitter Or Ms. Gadde For
                   Breach Of An Implied Covenant Of Good Faith [Count XII].

            Plaintiffs’ final claim against Twitter and Ms. Gadde, which the FAC refers

      to as a claim for “breach of implied covenant of good faith-promissory estoppel”

      (Count Twelve), should also be dismissed. It is unclear whether Plaintiffs mean

      to assert a claim for “promissory estoppel” or for “breach of implied covenant of

      good faith.” But either way, the claim plainly fails as a matter of law.

            The FAC does not plausibly allege a claim of promissory estoppel because

      it fails to identify a single promise—let alone a “clear and definite promise”—

      that Twitter or Ms. Gadde ever made to any of the Plaintiffs. See Obado, 612 F.

      App’x at 94; Ross v. Celtron Int’l, Inc., 494 F. Supp. 2d 288, 296 (D.N.J. 2007).

      Plaintiffs claim that Twitter “refused to protect” them from the alleged

      enterprise’s “abusive behavior” when it failed to remove certain information

      posted by Exoo. FAC ¶ 235. But the Third Circuit has held that even “[a]n email

      from an interactive computer service provider indicating that a complaint by a

      defamed user will be investigated is not a clear and definite promise to actually

      remove the content,” for purposes of a promissory estoppel claim. Obado, 612

      F. App’x at 94. Here, no Plaintiff has alleged that he or she ever even contacted

      Twitter (or Ms. Gadde) and asked for any Tweets to be removed. And the FAC

      certainly provides no indication that Twitter (or Ms. Gadde) ever told any

      Plaintiff that either of them would remove any such content, much less that either

      of them made a sufficiently “clear and definite” promise to do so. Similarly,




                                             -35-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 45 of 49 PageID: 1281



      while the FAC states in summary fashion that Twitter and Ms. Gadde received

      “contemporaneous complaints,” from unspecified individuals, concerning the

      posting of information about Plaintiffs by the holder of the @AntiFashGordon

      account (FAC ¶ 234), it does not allege that Twitter or Ms. Gadde ever made any

      promise to anyone (much less to D’Ambly or any of the other Plaintiffs) that

      Twitter would remove any Tweets based on those complaints.

            Any claim based on an alleged “breach of the implied covenant of good

      faith” also fails. While New Jersey law recognizes that “[e]very party to a

      contract . . . is bound by a duty of good faith and fair dealing in both the

      performance and enforcement of the contract,” Brunswick Hills Racquet Club,

      Inc. v. Route 18 Shopping Ctr. Assocs., 864 A.2d 387, 395 (N.J. 2005), the FAC

      does not allege that any Plaintiff was ever a party to a contract with Twitter or

      Ms. Gadde. The Plaintiffs do not allege that they ever established accounts with

      Twitter, otherwise interacted with the Twitter platform, or ever entered into any

      agreement with Twitter, including the Twitter User Agreement. Indeed, one

      Plaintiff expressly alleges that he does not have a Twitter account. FAC ¶ 139.

            Even if any Plaintiff had a contractual relationship with Twitter and is

      basing their claim of a breach of an implied covenant of good faith on allegations

      that Twitter did not do enough to prevent Exoo from violating the Twitter User

      Agreement, the claim would still fail because the FAC does not allege that Twitter

      did not adhere to any of its obligations under that Agreement. To the contrary,

      Twitter’s User Agreement expressly states that Twitter is not liable for any



                                             -36-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 46 of 49 PageID: 1282



      content that is posted by third parties.15 See Green, 318 F.3d at 471 (affirming

      district court’s dismissal of user’s breach of contract claim because user

      agreement provided that “[defendant] does not assume any responsibility for

      content provided by third parties”).          It expressly allows the posting of

      “information that we don’t consider to be private,” including a person’s “name,”

      “place of . . . employment,” and “information that is publicly available

      elsewhere,”16 which would include Plaintiffs’ names, employment, and public

      participation and leadership in controversial organizations. And it states that any

      enforcement action undertaken by Twitter is discretionary (“When we take

      enforcement actions, we may do so either on a specific piece of content . . . or on

      an account”) and that Twitter’s public posting about its “range of enforcement

      options” constitutes only “some of the enforcement actions that we may take.”17

      In short, contrary to Plaintiffs’ allegations, Twitter’s User Agreement does not


      15
            See Holtzblatt Decl. Ex. A. at 2, 9 (Twitter Terms of Service, (June 18,
      2020), https://twitter.com/en/tos). Paragraph 29 of the FAC refers to and relies
      upon Twitter’s Terms of Service, but the FAC does not attach those terms as an
      exhibit. The Court may consider the Terms of Service (which Twitter now
      attaches) for purposes of adjudicating Twitter’s motion to dismiss. See Pension
      Ben. Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir.
      1993) (courts may consider an “undisputedly authentic document that a defendant
      attaches as an exhibit to a motion to dismiss if the plaintiff’s claims are based on
      the document”).
      16
             See Holtzblatt Decl. Ex. B, at 3 (Twitter Rules and Policies, “Private
      Information Policy” (March 2019), https://help.twitter.com/en/rules-and-
      policies/personal-information) (incorporated by reference into FAC at ¶ 29).
      17
            See Holtzblatt Decl. Ex. C, at 1 (Twitter Rules and Policies, “Our Range
      of    Enforcement     Options,”     https://help.twitter.com/en/rulesandpolicies/
      enforcement-options) (incorporated by reference into FAC at ¶ 28).


                                             -37-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 47 of 49 PageID: 1283



      create an implied promise on the part of Twitter—even to its accountholders—to

      remove specific third-party content or accounts. Thus, even if Plaintiffs were

      Twitter accountholders, their claims for breach of the implied covenant of good

      faith would still necessarily fail.

      III.   The Cross-Claims Previously Filed By Cohen, Weiss and Simon, LLP
             Should Also Be Dismissed.

             Finally, the Court should dismiss the conclusory and broad-brush cross-

      claims for contribution and indemnification that Defendant Cohen, Weiss and

      Simon, LLP purported to assert generally against all other defendants, including

      Twitter and Ms. Gadde.         See Defendant Cohen, Weiss and Simon, LLP’s

      (“CWS”) Answer and Crossclaims, ECF No. 12 (Oct. 22, 2020). Some courts

      hold that the filing of an amended complaint moots any cross-claims and

      counterclaims that were previously filed. See, e.g., Argent Holdings, LLC v. East

      El Paso Physicians Medical Ctr., LLC, 2018 WL 548676, at *4 (W.D. Tex. Jan.

      23, 2018). To the extent that CWS’s cross-claims are not deemed moot, they

      should be dismissed, in any event.

             First, for the same reasons that 47 U.S.C. § 230 bars Plaintiffs’ claims

      against Twitter and Ms. Gadde based on Twitter’s alleged failure to prevent Exoo

      from posting Tweets, Section 230 also immunizes Twitter and Ms. Gadde from

      CWS’s cross-claims for contribution and indemnification. As explained above,

      see supra pp. 17-18, in evaluating the application of Section 230, what matters is

      not the name of the claim, but rather whether the claim arises out of the




                                             -38-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 48 of 49 PageID: 1284



      publication of “content originating from a third party.”          Obado, 2014 WL

      3778261, at *4; see also Regions Bank v. Kaplan, 2013 WL 1193831, at *19

      (M.D. Fla. Mar. 22, 2013) (applying Section 230 and dismissing cross-claims).

      Here, Twitter and Ms. Gadde could be liable for contribution or indemnification

      to CWS only if they bore some liability for allowing Exoo to operate an account,

      and to post content, on the Twitter platform. See FAC ¶¶ 199, 222, 232, 235. As

      Section 230 immunizes Twitter and Ms. Gadde from liability to Plaintiffs based

      on those allegations, so too does it immunize Twitter and Ms. Gadde from

      liability to CWS.

            Second, CWS’s cross-claim against Twitter and Ms. Gadde for

      indemnification also fails because “[i]ndemnification is available under New

      Jersey law in two situations: when a contract explicitly provides for

      indemnification or when a special legal relationship between the parties creates

      an implied right to indemnification.” Fireman’s Fund Ins. Co. v. 360 Steel

      Erectors, Inc., 2018 WL 1069417, at *4 (D.N.J. Feb. 26, 2018). No such contract

      or special relationship exists between CWS and either Twitter or Ms. Gadde, nor

      is any such contract or special relationship plausibly alleged.

            In all events, CWS’s cross-claims are far too conclusory to meet the

      pleading standard under Iqbal and Twombly. See Iqbal, 556 U.S. at 678. They

      contain no specific factual allegations, and they lump all co-Defendants together

      in group-pleaded fashion. These claims should therefore be dismissed under Fed.

      R. Civ. P. 12(b)(6). See Hunsberger v. The Original Fudge Kitchen, 2020 WL



                                             -39-
Case 2:20-cv-12880-JMV-JSA Document 78-1 Filed 04/22/21 Page 49 of 49 PageID: 1285



      6620156, at *1 (D.N.J. Nov. 12, 2020) (dismissing cross-claim and observing that

      the “standard of review for a motion to dismiss a crossclaim is the same standard

      of review as a motion to dismiss a complaint”); Katz v. Holzberg, 2013 WL

      5946502, at *5 (D.N.J. Nov. 4, 2013) (dismissing cross-claim for indemnification

      where cross-claim “fail[ed] to provide anything more than bare conclusions and

      a recitation of legal elements”).

                                          CONCLUSION
            For the foregoing reasons, this Court should dismiss with prejudice all of

      Plaintiffs’ claims against Defendants Twitter, Inc. and Vijaya Gadde, as well as

      the cross-claims previously filed by CWS against Defendants Twitter and Ms.

      Gadde.

                                                    Respectfully submitted,

      April 22, 2021                                 /s/ Lawrence S. Lustberg
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                                             -40-
